           Case 2:20-cv-01556-WSH Document 38 Filed 05/17/22 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 HIGH OFF LIFE, LLC,                                )
                                                    )
                                 Plaintiff,         )
                                                    )
                 v.                                 ) No. 2:20-cv-1556-WSH
                                                    )
 FREEBANDZ PRODUCTIONS, LLC                         )
 and SONY MUSIC HOLDINGS, INC.,                     )
                                                    )
                                 Defendants.        )

                 INITIAL CASE MANAGEMENT CONFERENCE HEARING
                              Before Judge W. Scott Hardy


Appeared for Plaintiff:                        Appeared for Defendants/Freebandz Productions,
                                               LLC and Sony Music Holdings, Inc.:
Stephen C. McArthur, Esq.
Thomas Dietrich, Esq.                          David C. Rose, Esq.
                                               Dyan Finguerra-DuCharme, Esq.
                                               Joanne Liu, Esq.




 Hearing begun            05/17/2022 at 1:30 p.m.     Hearing adjourned to    N/A
 Hearing concluded        05/17/2022 at 1:43 p.m.     Stenographer            None
                                                      Clerk:           D. Stupy

  A telephonic Case Management Conference was held during which the Court discussed with the
  parties the status of the case, their proposed discovery plan, and alternative dispute resolution
  options. Additionally, the parties agreed to the entry of the standard Rule 502(d) Order.

  As to discovery, the Court ordered that fact discovery shall close by February 17, 2023. To the
  extent that an extension of the period for discovery is sought, the parties are to file a motion in
  accordance with the Court’s Case Management Order.
  With respect to ADR, the parties have selected Mediation and will file an ADR Stipulation
  pursuant to Local Rule 16.2 and in accordance with the Court’s ADR Policies and Procedures no
  later than May 31, 2022, Upon the filing of the parties’ Stipulation of Selecting an ADR
  Process, the Court will enter an Order Referring the Case to Mediation.
        Case 2:20-cv-01556-WSH Document 38 Filed 05/17/22 Page 2 of 2




Appropriate Orders to follow.
